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                                            CLERK’S MINUTE SHEET
                                     IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                              Before the Honorable Laura Fashing, United States Magistrate Judge
                                                 Arraignment/Detention Hearing
Case Number:                CR 22-1520 JB                           UNITED STATES vs. THOMPSON
Hearing Date:               12/8/2023                               Time In and Out:           10:17-10:22
Courtroom Deputy:           N. Maestas                              Courtroom:                 Rio Grande
Defendant:                  Ashley Thompson                         Defendant’s Counsel:       Jedidiah Glazener
AUSA:                       Meg Tomlinson                           Pretrial/Probation:        Anthony Galaz
Interpreter:                                                        Witness:
Proceedings
☐       First Appearance by Defendant
☐       Defendant waived appearance at Arraignment
☒       Defendant received a copy of charging document
☒       Defendant questioned re: time to consult with attorney regarding penalties
☒       Defendant waives reading of Superseding Indictment
☒       Defendant enters a Not Guilty plea
☒       Motions due by: Thursday, December 28, 2023
                                                                                               Discovery Order not entered;
        Parties agree Standing Discovery             Discovery Order previously
☒                                            ☐                                             ☐   parties to confer pursuant to
        Order to be electronically entered           entered
                                                                                               Rule 16.1(a) within 14 days
☒       Case assigned to: Judge Browning
☒       Trial will be scheduled by presiding judge                  ☐ Trial currently set
☒       Defendant waives right to contest detention
☒       Defense counsel alerts Court that treatment options are being investigated
Custody Status
     Defendant remanded to custody of United States
☒
     Marshal's Service
☐ Conditions
Other
☐       Defendant waives personal presence at hearing/Court accepts Defendant’s waiver
☐       Pursuant to the Due Process Protections Act, Court confirms the United States obligation to produce all exculpatory
        evidence to the defendant pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and its progeny, and orders it to do so.
